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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF MICHIGAN
  DR. WILLIAM S. HUSEL, M.O.

                                            Case No.: 19-CV-12478-GCS-DRG
       Plaintiff,

                    – against –

  TRINITY HEALTH
  CORPORATION, and TRINITY
  ASSURANCE LIMITED
  (CAYMAN),


                    Defendants.




    PLAINTIFF’S REPLY MEMORANDUM OF LAW IN SUPPORT OF
   MOTION FOR PRELIMINARY INJUNCTION AND DECLARATORY
     RELIEF AGAINST TRINITY ASSURANCE LIMITED (CAYMAN)




                                  October 7, 2019
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                          PRELIMINARY STATEMENT

       Dr. Husel is defending himself against twenty-five counts of murder for

 writing prescription pain-relief medication for terminally-ill ICU patients after they

 had been removed from life support on their families’ wishes. While laws were

 written to protect palliative care doctors who are tasked with making subjective

 decisions regarding the appropriate amount of pain relief to be administered

 necessary to prevent undue suffering as a patient lay dying, obtaining the benefit of

 those laws and his ultimate exoneration on these criminal charges requires skillful

 defense counsel to guide his way. Thankfully, he is the beneficiary of an

 Integrated Risk Insurance Policy (and follow form policies) that unambiguously

 provide coverage for his Defense Expenses in “criminal proceedings.”

                                       ARGUMENT

 I.    Dr. Husel is a named third-party beneficiary of the Policies and is
       entitled to collect directly from TAL, if THC continues to refuse to
       comply with its “duty to defend.”

       TAL starts with the assertion that it cannot be forced to advance Dr. Husel’s

 defense costs because the insurance contract is between THC and TAL and Dr.

 Husel is not a party to that contract. TAL ignores universally accepted black-letter

 law: Contracts entered into between employers and an insurance company for the

 benefit of the employees of the employer are enforceable by the employee


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 beneficiary against the insurer. See e.g., Tyson v. Connecticut Gen. Life Ins. Co.,

 495 F. Supp. 240, 243 (E.D. Mich. 1980) citing Corbin on Contracts § 807.

 II.    Dr. Husel was acting within the scope of his employment when he
        prescribed the pain medication that forms the basis of the allegations in
        the criminal proceeding, and as such he is an “Insured” entitled to
        coverage for his claim against the Policy.

        TAL argues that Dr. Husel should be denied coverage because he was acting

 outside of the scope of his employment when he prescribed the pain medication at

 the heart of criminal indictment because “purposeful murder” was not part of his

 employment duties. This argument confuses how courts analyze scope of

 employment for purposes of determining coverage. “Within the scope of

 employment” means “engaged in the service of his master, or while about his

 master’s business” Hamed v. Wayne Co., 490 Mich. 1, 10–11 (Mich. 2011)

 (citations omitted). Indeed, “even intentional [acts] are within the scope of an

 agent’s employment if the conduct is ‘the kind [the employee] is employed to

 perform,’ ‘occurs substantially within the authorized time and space limits,’ and ‘is

 actuated, at least in part, by a purpose to serve the’ employer.” Kolstad, 527 U.S.

 526, 543 (1999) (citations omitted).1




 1
   Michigan follows the Restatement (Second) of Agency in determining whether an act by an
 employee is within the scope of employment. See Bryant v. Brannen, 180 Mich. App. 87, 99
 (1989). The Restatement explains: (1) To be within the scope of employment, conduct must be
 of the same general nature as that authorized, or incidental to the conduct authorized.
 Restatement (Second) of Agency § 229 (1957) (quoted in Bryant, 180 Mich. App. at 99-100).

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        The key issue, therefore, is whether Dr. Husel’s actions were of the same

 general nature as that authorized, or incidental to the conduct authorized. Dr. Husel

 was required to administer pain medication to terminally ill ICU patients after

 having been removed from life support. These actions form the basis of the

 criminal indictment. He was acting within the scope of his employment.

 III.   The Policies provide Defense Expenses for claims based on Criminal
        Proceedings as plainly stated in the policies.

        The crux of this case is whether Dr. Husel’s claim against TAL (and THC)

 for advancement of Defense Expenses is covered under the policies. Both THC and

 TAL address this issue by intentionally mixing up the difference between Husel’s

 “claim” against the policy and the underlying civil and criminal proceedings that

 form the “Loss Event” on which coverage is based for those proceedings. TAL

 acknowledges that what constitutes a “claim” covered under the policy is not

 defined or explicit, and is therefore ambiguous.2 (TAL Br. pg. 15) TAL then

 asserts that the “claim” at issue is a “claim” for “purposeful murder” or is a

 “claim” based on a “The Murder Indictments.” (TAL Br. pg. 12) Based on this

 argument for the definition of the word “claim,” TAL argues that Husel’s “claim”

 for Defense Expenses incurred in connection with a Loss Event is not covered

 under the Primary Policy because “purposeful murder” and “Murder Indictments”



 2
  Indeed, TAL’s assertion that the word “claim” is ambiguous, and it is not clear “which claims
 are covered under the policy” itself provides sufficient grounds to find that Dr. Husel’s claim is
 covered because all ambiguities in the insurance policy must be resolved in Dr. Husel’s favor.
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 are not covered by the Policy.

       This is bootstrapping. The relevant “claim” that the insurance company must

 consider is Husel’s claim on the policy, and it must look to the allegations that

 form the basis of the liability for which coverage is sought. Indeed, as TAL

 highlighted in its own brief, “The duty to indemnify for defense costs…does not

 attach where the conduct alleged is indisputably outside the scope of coverage.”

 (TAL Br. pg. 11-12, citing Chiquita Brands Int’l Inc.) (emphasis added). Put

 another way, and to use TAL’s own words, “[t]o determine whether a party has a

 duty to defend, the Court must examine the allegations in the underlying action.”

 (TAL Br. pg.12) (emphasis added). The allegations in “the underlying action” are

 that Dr. Husel prescribed pain relief to patients that had been removed from life

 support in a dosage larger than the prosecutor and insurance company believe

 necessary. The question is whether this conduct results in liability that the policy

 intended to cover. It does. The alleged “acts” constitute a “Loss Event,” under the

 unambiguous Policy Definitions and Coverage, and thus Dr. Husel’s claim here is

 covered. Repeating that “purposeful murder” is not covered under the policy

 ignores the actual necessary analysis.

       TAL hinges its remaining arguments on the position that the policy is not

 intended to cover defense expenses resulting from criminal proceedings because

 “exclusions” apply. But these exclusions make clear two critical points, which

 contradict TAL’s position. First, that “Loss Events” are entitled to coverage
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 without allegations of “Loss.” (Because they are defined differently and appear in

 the exclusions as different basis for coverage, Part I B 4 “Any Claim, Loss or Loss

 Event. . . “). Second, that coverage for criminal liability is explicitly intended. It

 is the exclusion for “physical abuse” that makes clear that no exclusion is intended

 to take claims for Defense Expenses for criminal proceedings out of coverage, until

 and unless a final non-appealable determination as to the conduct has been made.

       Dr. Husel agrees with TAL and THC that the criminal indictment subjects

 Dr. Husel to criminal liability based on allegations of “physical abuse,” which is

 listed as an “exclusion” to Coverage under parts I and II of the policy. (TAL Br.

 pg. 19). Yet the Policy explicitly states that this “exclusion” does not take effect

 until final non-appealable adjudication, which has not occurred here. Specifically,

 the policy states, “Coverage under Part I [and II] of this Policy does not apply to

 Any claim, Loss or Loss Event arising out of any physical abuse. . . However, this

 exclusion does not apply: unless it is determined (i) by final and non-appealable

 adjudication in any civil or criminal proceeding. . . .” It is only after this non-

 appealable finding, the policy makes absolutely clear, that “coverage for Defense

 Expenses for such Insured will cease.” Prior to any such determination, THC has a

 duty to defend Dr. Husel and TAL has the duty to indemnify. There is no good

 faith argument that this policy excludes defense expenses for criminal proceedings,

 since the policy provides that such payments will be made until a non-appealable

 adjudication, and only at that point will defense expenses “cease.”
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       Since Defense Expenses based on allegations of “physical abuse” alleged in

 a criminal proceeding are entitled to coverage until final adjudication, it would be

 illogical to read the very next exclusions as excluding Defense Expenses for

 allegations stemming from willful violations of penal statutes and “non-pecuniary

 relief” as intended to exclude advancement for Defense Expenses in all criminal

 proceedings ab initio. For example, in Unencumbered Assets, Tr. v. Great Am. Ins.

 Co., a case addressing exclusions drafted with language asserting they only applied

 after a final determination – as the relevant exclusions here – the court found

 coverage was not appropriately precluded until after jury conviction and the Sixth

 Circuit upheld it. 817 F. Supp. 2d 1014, 1032 (S.D. Ohio 2011).3 To be clear,

 Michigan courts strictly construe exclusions and ambiguities in favor of the

 insured, against the insurer. Amerisure Mut. Ins. Co. v. Carey Transp., Inc., 578 F.

 Supp. 2d 888, 901 (W.D. Mich. 2008).

       Notably, nothing in the Policy explicitly excludes claims for Defense

 Expenses for criminal proceedings until after final adjudication – and as such the

 Court should interpret coverage in favor of Dr. Husel. If this court finds

 outstanding issues of fact must be resolved before a final determination can be




 3
  There, the court found “[t]he language is clear. If a ‘judgment or other final
 adjudication’ establishes that the insured party committed a ‘deliberately
 fraudulent or dishonest act,”” then he will not receive coverage for any claim
 brought about by his fraudulent or dishonest act. Id.

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 made, then THC’s duty to defend by advancing costs to Dr. Husel should begin

 immediately and only cease if a different determination is made.4 See Carey

 Transp., Inc., 578 F. Supp. 2d at 927. (“there was enough uncertainty that

 Amerisure had a duty to defend [Insured] in the underlying action, at least

 initially.”)

                                     CONCLUSION

        For the foregoing reasons, the Court should grant Plaintiff’s motion for a

 preliminary injunction declaring that Defendants must advance Defense Expenses

 to Dr. Husel so that he may properly defend himself in the criminal action.


 Dated: October 7, 2019

                                                          Respectfully submitted,

                                                         _______________________
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 4
   Nor does the exclusion for “non-pecuniary relief” apply to criminal proceedings. In his opening
 brief, Dr. Husel explained that this exclusion referred to an Insured seeking from the Insurer
 something other than monetary relief, such as injunctive relief from the insurance company. It is
 also possible – although unlikely – that this exclusion prohibits Dr. Husel from making a claim
 for non-quantifiable damages, including certain physical and emotional injuries. Regardless, this
 exclusion has nothing to do with excluding Defense Expenses for a criminal proceeding.

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